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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

AMERICAN HOME MORTGAGE Case No. 07-11047 (CSS)

HOLDINGS, INC., et al., (Jointly Administered)
Debtors.

MOTION OF GMAC MORTGAGE LLC PURSUANT TO DEL.BANKR.LR. 9006-1(e)
FOR AN ORDER SHORTENING THE TIME FOR NOTICE OF THE HEARING AND
OBJECTION DEADLINE TO CONSIDER GMAC MORTGAGE LLC’S MOTION TO
COMPEL THE DEBTORS TO SEND NOTICE TO THE HELOC BORROWERS
REGARDING THE “FREEZING” OF THE HELOC LOANS

GMAC Mortgage LLC (“GMACM”), by and through its undersigned counsel, having
submitted GMAC Mortgage LLC’s Motion to Compel the Debtors to Send Notice to the HELOC

Borrowers Regarding the “Freezing” of the HELOC Loans (the “Motion to Compel”), moves the

Court, pursuant to Rule 9006-1(e) of the Local Rules of Bankruptcy Practice and Procedure of
the United States Bankruptcy Court for the District of Delaware (the “Local Rules” or
“Del.Bankr.LR.”) for the entry of an order shortening the time for notice of the hearing and the
corresponding objection deadline to consider the Motion to Compel as it relates to the relief

sought therein (the “Motion to Shorten”) so that the matter may be heard an January 4, 2008 at

11:00 a.m. (Eastern Prevailing Time) and objections will be due on December 28, 2007 at 4:00

p.m. In support of this Motion to Shorten, GMACM states as follows:

JURISDICTION AND VENUE

l. This Court has jurisdiction over the subject matter of this Motion to Shorten
pursuant to 28 U.S.C. § 1334.
2. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

2. Venue in this Court is proper pursuant to 28 U.S.C. § 1408.

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FACTUAL BACKGROUND

4. On August 6, 2007 (the “Petition Date”), the Debtors filed voluntary petitions for
relief under Chapter 11 of the Bankruptcy Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy
Code”).

5: GMACM and certain of the Debtors! are parties to various servicing agreements
in connection with mortgage loan securitizations under which the Debtors are the master
servicer, servicer, or the subservicer, which are more fully described in the Motion to Compel.
GMACM is either the back-up servicer2 or master servicer, as the case may be, under certain of
these home equity lines of credit securitization arrangements. As back-up servicer or master
servicer, GMACM is designated as the entity to take over the servicing function of the HELOC
portfolios following a HELOC Servicer Termination Event (as defined in the indentures relating
to the securitizations involving GMACM as back-up servicer or master servicer).

6. GMACM believes that the Debtors desire to turn over to GMACM as Back-Up
Servicer or Master Servicer, the servicing rights with respect to all of the HELOCs currently
serviced by the Debtors or the Purchaser on behalf of the Debtors on or about J anuary 14, 2008.
GMAC™ also believes that the Debtors, in their capacity as Lender, are no longer making loans
to fund draw requests of the HELOC Borrowers under the HELOCs. GMACM believes that
notwithstanding the assertions by FIGC, CIFG, and Assured that a Rapid) Amortization Event

occurred under the Trust Documents pertaining to Notes which they insure, the Debtors are

l Capitalized terms not otherwise defined herein shall have the meaning ascribed to them
in the Motion to Compel.

tN

GMACM is a party to HELOC Back-Up Servicing Agreements which specify its
obligations as back-up servicer in|connection with certain of the securitizations at issue
here.
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continuing to fund draw requests submitted by HELOC Borrowers from payments made under
the HELOCs.

Fs On November 9, 2007, CIFG, the credit enhancer under the 2006-2 Trust filed the
Motion of CIFG Assurance North America, Inc. for Relief from the Automatic Stay to Permit
Termination Rights and Responsibilities of Debtor as Servicer Under the HELOC Servicing
Agreement for Series 2006-2 (the “CIFG Motion”) (D.I. 1955). The Court entered the Order
Granting, In Part, the Motion of CIFG Assurance North America, Inc.| for Relief from the
Automatic Stay to Permit Termination of the Rights and Responsibilities of the Debtor as
Servicer Under the HELOC Servicing Agreement for Series 2006-2 on December 17, 2007 (the
“CIFG Order”) (D.I. 2398). The CIFG Order, among other things, provides for the termination
of AHM Servicing as the servicer of the 2006-2 Trust HELOCs as of January 14, 2008 and the
turnover of the HELOC Servicing Rights to GMACM on that date.

8. On November 29, 2007, FGIC, the insurer under the 2005-1] Trust, 2005-2 Trust,
and 2005-4A Trust filed the Motion of Financial Guaranty Insurance Company for Relief from
the Automatic Stay (the “FGIC Motion”) (D.I. 2224).

9. On December 17, 2007, Assured, the insurer under the 2007-A Trust filed the

Motion of Assured Guaranty Corp. for Relief from the Automatic Stay (the “Assured Motion”)

(D.I. 2416).

10. GMACM believes that the HELOC Borrowers have not received any notice from
any Debtor that the Debtors, as Lender, will no longer be honoring draw requests under the
HELOCs after the HELOCs are turned over to GMACM as Back-Up _ Servicer or Master
Servicer. This presents a very serious issue in that individual HELOC Borrowers may be

incurring obligations believing that they can draw on their HELOC to fund such obli gations.
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11. | While GMACM is prepared to meet its obligations under the Back-Up Servicing
Agreements and upon taking over the servicing function, the Servicing Agreements, GMACM
has no obligation to advance any funds in order to meet draw requests made by HELOC
Borrowers.

12. Contemporaneously with the filing of this Motion to Shorten, GMACM filed the
Motion to Compel. As set forth more fully in the Motion to Compel, which is incorporated
herein by reference, GMACM seeks an order compelling the Debtors to send a notice to the
HELOC Borrowers regarding the status of funding under the HELOC loans.

RELIEF REQUESTED

13, Pursuant to Del.Bankr.LR, 9006-1(e), GMACM seeks an order shortening notice
with respect to the Motion to compel and scheduling a hearing on the Motion to Compel for
January 4, 2008 at 11:00 a.m. (Eastern). GMACM further requests that this Court establish
December 28, 2007 at 4:00 p.m. as the deadline for filing objections to the Motion to Compel.

BASIS FOR RELIEF REQUESTED

14. _—_ Pursuant to Del.Bankr.LR. 9006-1(e), “[nJo motion will be scheduled on less
notice than required by these rules or the Fed.R.Bankr.P. except by Order of the Court, on
written motion (served on all interested parties) specifying the exigencies) justifying shortened
notice. The Court will rule on such motion promptly without need for hearing.”

15. Pursuant to the CIFG Order, GMACM will become the servicer of the 2006-2
Trust HELOCs on January 14, 2008. In addition, on or about January 14, 2008, GMACM may
become the servicer of the 2005-1 HELOCs, 2005-2 Trust HELOCs, 2005-4 Trust HELOCs
and 2007-A Trust HELOCs as a result of the FGIC Motion and Assured Motion and of the 2004-

4 Trust HELOCs as a result of the Debtors refusal to service the 2004-4 Trust HELOCs.
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16. | There are several procedures that need to be completed in order to transition
servicing from the Debtors to GMACM, including the uploading of all of the electronic data
regarding the HELOCs, which procedures require time to be accomplished. In addition, notices
will have to be immediately sent to the HELOC borrowers regarding the change in servicer. It is
imperative that the notice requested by GMACM be sent prior to the transfer of servicin g.

17. Based upon the foregoing and for the reasons set forth in the Motion to Compel,
cause exists to shorten notice and schedule a hearing on the Motion to Compel for January 4,
2008 at 11:00 a.m. (Eastern) and establish December 28, 2007 at 4:00 p.m. as the deadline for
filing objections to the Motion to Compel.

WHEREFORE, GMACM respectfully requests that the Court enter an order scheduling a
hearing on the relief requested in the Motion to Compel for January 4, 2008 |at 11:00 a.m.
(Eastern Prevailing Time) and requiring that any responses to the Motion to Compel be filed and
served so as to be received on or before December 28, 2007 at 4:00 p.m. (Eastern Prevailing
Time).

Dated: December 20, 2007 Respectfully submitted,

Wilmington, Delaware

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